                       2:20-cr-20035-MMM-EIL # 29            Page 1 of 1
                                                                                                   E-FILED
                                                                   Tuesday, 27 October, 2020 01:46:59 PM
                                                                             Clerk, U.S. District Court, ILCD

                      IN THE UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF ILLINOIS
                                URBANA DIVISION

UNITED STATES OF AMERICA,                   )
                                            )
              Plaintiff,                    )
                                            )
       v.                                   )                Case No. 20-20035
                                            )
DOUGLAS O. MYNATT,                          )
                                            )
              Defendant.                    )

                                           ORDER

       On October 9, 2020, Magistrate Judge Eric I. Long filed a Report and Recommendation

Concerning Plea of Guilty. (ECF No. 25). No written objections were filed. Therefore, this Court

adopts the Report and Recommendation. The plea of guilty of the Defendant to Counts 1-4 of the

Indictment and the agreement to the forfeiture of items described in the notice of forfeiture is

accepted. The Defendant is adjudged guilty of the offense.

       The Sentencing Hearing remains set for January 11, 2021, at 11:00 AM in Urbana before

Judge Michael M. Mihm.

       ENTERED this 27th day of October, 2020.

                                                    s/ Michael M. Mihm
                                                    Michael M. Mihm
                                                    United States District Judge
